UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                      :

        -v.-                                                  :      21 Cr. 264 (JLC)

CHAIM DEUTSCH,                                                :

                                Defendant.                    :

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                   THE GOVERNMENT’S SENTENCING MEMORANDUM



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        -v.-                                                  :    21 Cr. 264 (JLC)

CHAIM DEUTSCH,                                                :

                                Defendant.                    :

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                   THE GOVERNMENT’S SENTENCING MEMORANDUM

        Defendant Chaim Deutsch is scheduled to be sentenced on July 29, 2021, at 10:00 a.m.

The Government respectfully submits this memorandum in connection with that sentencing.

                                     PRELIMINARY STATEMENT

        The facts in this case demonstrate that the defendant Chaim Deutsch – an elected official

and community leader – engaged in a multi-year scheme to file false tax returns to decrease his

taxable income from his side-business in real estate management. At the same time Deutsch was

serving as a New York City Council Member, he was not paying his fair share of taxes to fund the

very government services he was helping to oversee. The defendant’s conduct spanned at least

three separate tax years and involved the claiming of false and fictitious deductions on his tax

returns totaling approximately $268,000, including even the apartment he rented in order to

maintain residency in his council district, and leading to tax loss to the United States Treasury of

approximately $82,906, exclusive of interest and penalties.

        The United States Sentencing Guidelines (“Guidelines”), and the defendant’s applicable

Guidelines range of 10 to 12 months’ imprisonment, appropriately reflect the defendant’s conduct.

To serve the legitimate purposes of sentencing, including promotion of respect for the law and
general deterrence, the Government requests that the Court impose a Guidelines sentence of

imprisonment.

                                        BACKGROUND

       A. The Defendant’s Background and Work History

       The defendant has been involved in politics for approximately 25 years, first as a council

aide, then as chief of operations for a council member, and for the last almost eight years as the

elected council member for the 48th District of New York City, which includes various parts of

South Brooklyn. 1 (Probation Investigation Report, dated July 12, 2021 (“PSR”) ¶¶ 8, 67, 71, 72.)

Beginning in or about 2004, Deutsch owned and operated Chasa Management, a real estate

management company. 2 (PSR ¶ 9.) Prior to commencing his first term as a council member,

Deutsch also was a 50% owner of another management company, Spencer & Myrtle, LLC

(“Spencer Myrtle”). (PSR ¶ 9.)

       Deutsch was well-compensated for his role managing real estate.            Through Chasa

Management, Deutsch received income from various real estate businesses controlled by a pair of

Brooklyn-based real estate landlords and developers – primarily from Spencer Myrtle and M&S

Skillman Realty, LLC, as well as from Jadabe Properties Corp., 144 Spencer Realty, LLC, and

Davbel Properties, LLC. 3 (PSR ¶ 11.) Deutsch, through Chasa Management received more than


1
       On or about April 27, 2021, subsequent to Deutsch’s plea in the instant case, he was
determined to have vacated his elected office by the New York City Council and the New York
City Law Department, as a result of violating his oath of office by defrauding the federal
government in connection with the instant tax offense. Since May 2021, Deutsch has been
employed as a full-time property manager with a six-figure salary. (PSR ¶ 65.)
2
       According to Chasa Management’s 2008 corporate tax return, the entity was incorporated
on February 24, 2004.
3
       Deutsch failed to report various positions on publicly filed conflict of interest disclosure
forms pertaining to roles he reportedly had with some of these real estate companies, according to
documents he had filed with the city using variations of his name. (PSR p.5 n.2.) Deutsch also

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$120,000 annually, including even after he became a council member, until the end of 2017. 4 (PSR

¶¶ 12, 19.) Notably, according to annual public disclosure filings, Deutsch reported one of the

highest, if not the highest, annual outside compensation of any council member, 5 until council

members were banned from outside employment as a result of a change in the law that raised their

council member salaries.

       B. The Offense Conduct, Relevant Conduct, and Restitution

       During the tax years 2013 through 2015, Deutsch, an experienced businessman and elected

official, filed individual and corporate tax returns that substantially decreased his tax liability by

claiming false and fictitious business deductions. (PSR ¶¶ 14, 15.) As an initial matter, Deutsch’s

individual income tax returns (IRS form 1040s) underreported his flow through business income

from Chasa Management as a result of a scheme to falsely characterize personal expenses paid

from the company’s bank account as business deductions on the company’s corporate income tax

returns (IRS form 1120s). (PSR ¶ 15.) In particular, Chasa Management’s corporate income tax

returns falsely deducted as business expenses the rental payments for an apartment Deutsch




failed to disclose on those conflict of interest forms interactions he had with the City’s Department
of Buildings relating to assistance he sought for the owners of those companies with a real estate
development project.
4
       In addition, less than one month before the general election, Deutsch also received $15,000
from Spencer Myrtle, which he used, in part, to pay the initial rent and security deposit on an
apartment that he had obtained in the 48th District in order to comply with city council member
residency requirements. (PSR ¶ 13.)
5
        The annual disclosure filings required council members to report their outside income
within various range bands of minimum and maximum outside compensation, instead of requiring
disclosure of the specific amounts of income. According to press reports, Deutsch’s minimum
outside annual compensation was the highest of any city council member prior to outside
employment being banned for city council members. See Jennifer Fermino, Erin Durkin and Greg
B. Smith, NYC City Council members offering to give up outside income – something most of them
don’t have – for 71% raise, NY Daily News (Nov. 12, 2015), available at
http://www.nydailynews.com/news/politics/city-council-give-71-raise-article-1.2433257.

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maintained in the 48th District but did not live in, along with falsely characterizing utility, water

and repair and maintenance expenses as business expenses. (Id.) Deutsch also falsely deducted

automobile and phone expenses, as well as routine living expenses such as groceries and even

children’s clothing, on his corporate returns. (Id.)

       In addition, Deutsch further decreased his tax liability on his individual tax returns for those

years by filing fraudulent Schedule C’s that declared fictitious business expenses. Specifically,

during each relevant year, he deducted an additional $16,800 in rent, which was equivalent to the

annual rent of the apartment that he rented in order to run for City Council. 6 (PSR ¶ 14.) Deutsch

also claimed fictitious expenses for vehicles, phones and utilities on his Schedule C. (Id.)

       As a result of the false deduction schemes, Deutsch received federal tax refunds in each of

the relevant tax years. Specifically, in tax year 2013, Deutsch’s false filings generated a federal

tax refund of $1,937; in tax year 2014, Deutsch’s false filings generated a federal tax refund of

$262; and in tax year 2015, Deutsch’s false filings generated a federal tax refund of $7,511.

       In preparing his tax returns and books for Chasa Management, Deutsch employed a family-

owned tax preparer and accounting firm based in Brooklyn. (PSR ¶ 16.) According to the

individuals who helped prepare Deutsch’s taxes, there were instances when Deutsch directed them

to classify or reclassify additional expenses as business-related to decrease his tax liability. (Id.)

According to one of the tax preparers, only after Deutsch was satisfied that the purported business

expenses had sufficiently decreased his tax liability were the tax returns finalized and filed. (Id.)




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      Moreover, during 2013, Deutsch claimed an entire year’s worth of rental payments on his
Schedule C, despite having only paid two months’ rent for the apartment during that particular
year.

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After Deutsch learned of the investigation, he used a different tax preparer to assist in the

preparation of his subsequent years tax returns. 7

       In total, for tax years 2013 through 2015, Deutsch claimed approximately $157,000 in false

business expenses on Chasa Management’s returns and approximately $111,000 in false business

expenses on his individual income tax returns, causing a total tax loss of approximately $82,906.

       As a result of the foregoing conduct, Deutsch pleaded guilty to filing a false tax return and

a tax loss to the IRS of more than $82,000. As part of the plea, Deutsch stipulated that the

Sentencing Guidelines offense level for his count of conviction was 12, with an attendant

sentencing range of 10-12 months in prison. (PSR ¶ 5.)

       Deutsch also agreed to make restitution in the amount of the tax due and owing as a result

of filing amended tax returns for tax years 2013 through 2015, and in no case less than $82,076

plus interest. (PSR ¶ 5.) As discussed above, the tax loss is $82,906, which is the same amount

as reflected in amended tax returns Deutsch recently filed in advance of sentencing in compliance

with the terms of his plea agreement. Accounting for interest due and owing on that tax loss

through the date of sentencing, 8 the Court should enter restitution to the IRS in the amount of

$107,007.05. 9 As of today, the defendant has not paid the tax due and owing as a result of the




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        Deutsch still has not fully paid his tax due from tax year 2016, which was the first year
prepared and filed after he learned of the investigation, although he remains current with an
installment plan entered into with the IRS.
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       As of the date of sentencing, the interest due for tax year 2013 is $7,272.30, for tax year
2014 is $8,792.86, and for tax year 2015 is $8,036.59, for a total interest of $24,101.75.
9
        Restitution is not solely in the amount of the tax loss, as reflected in the PSR (see ¶ 23),
but also should include interest through the date of sentencing as well, as the defendant agreed to
in his plea agreement (PSR ¶ 5). In addition, under the plea agreement, although not a part of the
requested restitution order, the defendant has agreed not to contest the applicability of any civil
fraud penalties. (Id.)

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crime or the relevant conduct, despite the defendant having savings, equity in his home, a steady

job, and the expectation of a pension from his municipal employment.

                                          DISCUSSION

I.     A Guidelines Sentence Is Warranted

       In this case, a Guidelines term of imprisonment is appropriate and would meet the

objectives set forth in 18 U.S.C. § 3553(a), given (1) the nature and circumstances of the offense

and the history and characteristics of the defendant; and (2) the need for the sentence imposed (A)

to reflect the seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense; and (B) to afford adequate deterrence to criminal conduct. See 18

U.S.C. § 3553(a)(1), (2)(A)-(B).

       A.      Sentencing Guidelines

       As the Court is aware, courts must treat the Guidelines as the “starting point and the initial

benchmark” in sentencing proceedings. Gall v. United States, 552 U.S. 38, 49 (2007). Here,

consistent with the Probation Department’s calculations, the parties agree that the applicable

advisory Guidelines range include 10-12 months’ imprisonment and an applicable fine range of

$5,500 to $55,000. 10 (PSR ¶¶ 84, 92.)




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        Section 3572(a) of Title 18, United States Code, sets forth the factors to be considered by
the court before imposing a fine, in addition to the factors set forth in Section 3553(a). Section
5E1.2 of the Guidelines states that a court “shall impose a fine in all cases, except where the
defendant establishes that he is unable to pay and is not likely to become able to pay any fine.”
U.S.S.G. § 5E1.2(a). The Guidelines further provide guidance on determining the size of the fine,
and state that, “[t]he amount of the fine should always be sufficient to ensure that the fine, taken
together with other sanctions imposed, is punitive.” Id. The defendant bears the burden of
demonstrating an inability to pay a fine. See United States v. Camargo, 393 F. App’x 796, 798
(2d Cir. 2010); United States v. Salameh, 261 F.3d 271, 276 (2d Cir. 2001).

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        B.      The Nature and Seriousness of the Offense

        Deutsch’s conduct was indisputably serious. Tax fraud is theft from the pockets of every

taxpaying citizen of this nation. As described above, Deutsch filed false tax returns, both

individually and for his corporation, over a period of years, turning taxes owed on his outside

income into federal tax refunds through the false and fraudulent classification of personal, and

sometimes fictitious, expenses as business deductions. This conduct was deliberate, repeated, and

engaged in while Deutsch was an elected official supposedly serving in the best interests of his

constituents. In doing so, Deutsch prioritized his own financial interests above the orderly funding

of government services.

        Tax offenses, like Deutsch’s, are serious, costly, and damaging to our nation’s system of

taxation. See United States v. Ture, 450 F.3d 352, 357 (8th Cir. 2006) (“The criminal tax laws are

designed to protect the public interest in preserving the integrity of the nation’s tax system.”). The

Supreme Court has long-recognized that “[t]he United States has relied for the collection of its

income tax largely upon the taxpayer’s own disclosures rather than upon a system of withholding

the tax from him by those from whom income may be received.” Spies v. United States, 317 U.S.

492, 495 (1943). The orderly operation of government and our society relies on its citizens and

residents to report timely, completely, and honestly all taxes they owe, which is why Congress has

made it a criminal offense to file false returns or evade income taxes. Indeed, as the Second Circuit

has recognized, “tax crimes represent an especially damaging category of criminal offenses,”

which “strike at the foundation of functioning government.” United States v. Zukerman, 897 F.3d

423, 427 (2d Cir. 2018) (cleaned up). See generally Compania General de Tabacos de Filipinas

v. Collector of Internal Revenue, 275 U.S. 87, 100 (1927) (“[t]axes are what we pay for a civilized

society. . . .”) (Holmes, J., dissenting).



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       The tax offense at issue in this case has cost the United States Treasury, and the nation’s

honest taxpayers, not only the taxes that should have been paid, but the time value of the money –

that is, the interest on the unpaid taxes. The offense conduct also resulted in significant losses to

the New York State taxing authorities. Moreover, the offense conduct in this case is further

aggravated by the fact that Deutsch used his false deductions to avoid the cost of the apartment he

maintained for residence in his council district (which the PSR suggests he “kept” but did not

reside in, see PSR ¶ 51), and with the benefit of the taxes he avoided was able to subsequently

purchase a larger, more expensive home in the council district. Although Deutsch did not use

these deductions to fund an extravagant lifestyle, there were no mitigating circumstances related

to his deliberate and repeated misconduct, as he already received a significant salary as a council

member and, in addition, had one of the highest outside incomes of any council member. The

defendant’s conduct was not aberrant or prompted by a brief lapse in judgment, but was sustained

over multiple years. He also did not suffer from any mental health or substance abuse disorder.

(PSR ¶¶ 56, 58.)

       Furthermore, Deutsch’s conduct was particularly harmful because every time a public

official commits a crime, his or her conduct further undermines public trust in honest government.

This is particularly the case when elected officials themselves do not follow the most basic

generally applicable laws, like paying taxes. While Deutsch may have done good deeds in his

personal and political life, as we expect of all who dedicate their career to public service, given

the special position of trust and obligation that accompanied his office, those good deeds should

not be a basis to avoid otherwise-warranted punishment for his crimes. See United States v.

Serafini, 233 F.3d 758, 773 (3d Cir. 2000) (good works as a legislator “reflect[] merely the political

duties ordinarily performed by public servants” and “if a public servant performs civic and



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charitable work as part of his daily functions, these should not be considered in his sentencing

because we expect such work from our public servants”); United States v. Morgan, No. 13-6025,

2015 WL 6773933, at *22 (10th Cir. Nov. 6, 2015) (finding that sentencing judge erred in

sentencing the former President Pro Tem of the Oklahoma State Senate to probation for accepting

a $12,000 bribe, in part, by giving undue weight to letters of support: “The number of letters was

certainly impressive but not surprising. As the Government aptly points out: ‘One does not become

President Pro Tem without the confidence of many supporters, some quite influential.’ The letters

must be viewed in that light.”). See also United States v. Vrdolyak, 593 F.3d 676, 682 (7th Cir.

2010) (“[I]t is usual and ordinary, in the prosecution of similar white-collar crimes . . . to find that

a defendant was involved as a leader in community charities, civic organizations, and church

efforts,” and the defendant “should not be allowed to treat charity as a get-out-of-jail card” (citation

and internal quotation marks omitted)). Deutsch’s personal history does not excuse what he did—

and if anything exacerbates the impropriety of his conduct.

        C. Deterrence

        By imposing a Guidelines term of imprisonment, the Court would send a clear message

that tax offenses committed by elected officials are not only wrong but carry significant personal

consequences. Deutsch’s false filing of tax returns year after year show that such a message is

necessary. If the justice system is to have an impact on tax evasion and help restore faith that no

one – not even elected officials – are above paying their fair share of taxes, then the sentence it

imposes must demonstrate the consequences for tax avoidance are significant.                   A non-

incarceratory sentence for an elected official would substantially diminish this deterrent message.

        The need for deterrence in tax fraud cases is particularly acute. A recent IRS study of tax

compliance estimates that only 83.1% of individuals are compliant with their tax obligations,



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leaving a yearly tax gap of over $458 billion dollars in unreported and uncollected taxes. See “Tax

Gap     Estimates     for    Tax      Years     2008-2010,”      April     2016,     available     at

www.irs.gov/pub/newsroom/tax%20gap%20estimates%20for%202008%20through%202010.pdf.                This

means that hundreds of billions of dollars are lost every year because people like Deutsch — who

otherwise fully enjoy the myriad public benefits that the tax system supports — choose to shirk

their responsibilities as taxpayers. As a result, a meaningful sentence, particularly where a case

has received attention like this one has, will appropriately forewarn others of the consequences for

engaging in multi-year tax fraud. See Joshua D. Blank, In Defense of Individual Tax Privacy, 61

Emory L.J. 265, 321 (2011) (“Studies have shown that salient examples of tax-enforcement actions

against specific taxpayers, especially those that involve criminal sanctions, have a significant and

positive deterrent effect.”); W. Boning, J. Guyton, R. Hodge, & J. Slemrod, Heard it through the

Grapevine: The Direct and Network Effects of a Tax Enforcement Field Experiment on Firms,

Journal of Public Economics 190 (2020) (“The effects of tax enforcement directed at one taxpayer

are not limited to that taxpayer’s behavior. Increased enforcement deters evasion . . . by changing

taxpayers' perceptions of the probability that evasion will be detected and punished”).

       As Judge Edward Weinfeld aptly observed, in a pre-Guidelines setting, there is an

important deterrent value of incarceration in tax cases:

       This court has long had the view that income tax evasion cases where defendants
       are found guilty, whether upon their pleas of guilty or after jury verdict, require a
       term of imprisonment. The income tax laws of our country in effect reflect an honor
       system under which the citizens are required to cooperate with the government, to
       file true and accurate returns. I have been of the view that unless a citizen lives up
       to his responsibility there must follow, barring an extraordinary situation, a term of
       imprisonment as an example to, other people in the community.

United States v. Tana, 85 Cr. 1119 (EJW) (June 17, 1986; Tr. at 12-13); see also United States v.

Engle, 592 F.3d 495, 502 (4th Cir. 2010) (“Without a real possibility of imprisonment, there would



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be little incentive for a wavering would-be evader to choose the straight-and-narrow over the

wayward path.”).

       Likewise, more recently, in a case involving a business owner defendant who used

unreported corporate receipts over a three-year period to pay payroll and personal expenses,

resulting in a tax loss of between $250,000 and $550,000 and a Sentencing Guidelines range of 18

to 24 months, Judge Alvin K. Hellerstein imposed an 18-month within-Guidelines sentence on the

54-year-old, first-time offender, explaining that:

       I think the obligation to pay taxes is basic to our civilization. It makes it possible
       to have a lawful society. You read every day of crimes and violence in our country.
       But so much so in so many other countries where people can’t get out of their house
       without fearing their lives. Where the path of getting food is strewn with threats
       and violence against them.

       In order to have a society, you must have money. You must be able to pay what
       society requires. And its basic functions of policing and other functions of making
       sure there is a safety net under people. If people don’t pay their taxes, they cheat
       each other. You’re not paying taxes cheats me. If I don’t pay my taxes, I cheat
       you. It’s as bad, in many ways, as ripping off the delivery worker that the last
       fellow did. You’re ripping off everybody else by not paying your share of taxes.
       So I look upon this and I think the guidelines have it right here. I think a year and
       a half, 18 months, is a just sentence. I impose it.

       I think you’re going to have to reflect on what you did and the seriousness of what
       you did. You just can’t make it good by paying the back tax. You’ve got to
       understand that when you do something bad, you get punished. It’s got to be a
       lesson to everyone else. Everyone else is tempted to draw a line and cheat a little
       bit, get an extra edge.

United States v. Joseph Ciccarella, 16 Cr. 738 (AKH) (ECF No. 19, Sentencing Tr., at 22-23).

       And, as Judge Denise L. Cote trenchantly observed when imposing sentence on husband

and wife Jeffrey and Marla Stein, a physician and an attorney who carried out a joint scheme to

cheat on their taxes for multiple years, including claiming false and fraudulent business deductions

on their Schedule C and cheating on the employment taxes relating to an off-the-books domestic

employee:


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        The presentence report emphasizes the greed involved with these offenses. Besides
        the greed, I think of the deceit, the disloyalty shown to a household employee and
        to an accountant, their irresponsibility as citizens. After all, taxes [are] one of the
        few things our country asks of most of us. One of the few things we can do as part
        of citizenship and living in this country is to pay our taxes. We all benefit from it.
        We don’t need to think about whether somebody is taking care of our security as a
        nation, or, more locally, our police department or our fire department. We pay our
        taxes, we come to expect these things, and, of course, there are a whole host of
        services our government provides to us, all of us, every citizen, but I like to think
        about writing that tax check as also a way of our support for our government taking
        care of those who are most in need in society. Let me give just one example here
        that hopefully will strike home for the defendants. The defendant went to high
        school in New York City at one of the best high schools in our country, the Bronx
        High School of Science. Tax dollars provided his education. So I have been
        thinking about this sentence. Here I have two people who have great talent, been
        very successful in life, and who I am going to send to prison because the issues of
        general deterrence are just too important not to do that.

United States v. Jeffrey Stein & Marla Stein, 15 Cr. 195 (DLC) (July 31, 2015) (ECF No. 23; Sent.

Tr. at 7-8).

        While the existing consequences of Deutsch’s misconduct are no doubt severe, including

that he was prosecuted, will be required to pay restitution, and has lost his job, and will likely

specifically deter Deutsch from committing further crimes, they are not sufficient for purposes of

general deterrence. Indeed, the collateral consequences Deutsch faces are no different than those

typically associated with any defendant’s federal crimes, and yet Deutsch was not deterred, despite

a career spent in public service and almost eight years in the municipal legislature. Moreover,

Deutsch’s personal humiliation should not mitigate his sentence; that approach would lead to

indulgence for well-regarded defendants guilty of misconduct, rather than the more severe

sentence such conduct deserves and deterrence requires. Something more than a criminal record

and payment of taxes that were long avoided is required to adequately deter others.

        In short, voluntary compliance with the Internal Revenue Code is undermined if the general

public believes there are no meaningful repercussions for willfully failing to comply with the tax



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laws. Sentencing Deutsch to a meaningful term of incarceration is, therefore, necessary to send

the message to others in our society that elected officials are not above the law and that repeated

efforts to cheat on one’s taxes will be met with serious punishment.

                                        CONCLUSION

       For the reasons set forth above, the Government respectfully requests that the Court impose

a Guidelines sentence of imprisonment, a sentence that is sufficient but not greater than necessary

to serve the legitimate purposes of sentencing. Such a sentence would reflect the seriousness of

Deutsch’s crimes, afford just punishment, and send a message that no one is above the law.



Dated: New York, New York
       July 22, 2021
                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             United States Attorney

                                      By:    s/ Eli J. Mark
                                             Eli J. Mark
                                             Assistant United States Attorney
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